  
   

Pro Se | (Rev. 12/16) Complaint for a Civil Case

RAY SMITH FORD,
BROTHER RAY,

 

Plaintiff(s)
(Write the full name of each plaintiff who is filing this complaint.
If the names of all the plaintiffs cannot fit in the space above,
please write “see attached” in the space and attach an additional
page with the full list of names.)

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NBC UNIVERSAL,
FOX CORPORATION,
CBS CORPORATION,
PUBLIC BROADCASTING SERVICE (PBS)

Defendant(s)
(Write the full name of each defendant who is being sued. If the
names of all the defendants cannot fit in the space above, please
write “see attached” in the space and attach an additional page
with the full list of names.)

 

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UNITED STATES DISTRICT COURT

for the

EASTERN District of MICHIGAN

Southern Division

Case: 2:20-cv-11736
Judge: Parker, Linda V.
MJ: Grand, David R.

‘led: 06-19-2020 At 01:02 PM
cme RAY SMITH FORD ET AL V NBC UNIVERSAL ET AL (SS)

Jury Trial: (check one) [KX] Yes [] No

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COMPLAINT FOR A CIVIL CASE

I. The Parties to This Complaint
A. The Plaintiff(s)

Provide the information below for each plaintiff named in the complaint. Attach additional pages if

needed.

Name

Street Address
City and County
State and Zip Code
Telephone Number
E-mail Address

RAY SMITH FORD aka BROTHER RAY,
3766 IROQUOIS

DETROIT, WAYNE COUNTY

48214

3132085338

ray48207 @ gmail.com

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B.

The Defendant(s)

Name

Job or Title (if known)
Street Address

City and County
State and Zip Code
Telephone Number

E-mail Address (if known)

Defendant No. 2

Name

Job or Title (if known)
Street Address

City and County

State and Zip Code
Telephone Number
E-mail Address (if known)

Defendant No. 3

Name

Job or Title (if known)
Street Address

City and County
State and Zip Code
Telephone Number

E-mail Address (if known)

Defendant No. 4

Name

Job or Title (if known)
Street Address

City and County
State and Zip Code
Telephone Number

FOX CORPORATION

1211 AVENUE OF THE AMERICAS

NEW YORK
NEW YORK 10036

CBS CORPORATION

530 W. 57" STREET
NEW YORK |
NEW YORK 10019

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AMERICAN BROADCASTING COMPANY (ABC)

NEW YORK CITY
NEW YORK 10023

NBC UNIVERSAL

30 ROCKEFELLER PLAZA

NEW YORK

NEW YORK 10112 _

Provide the information below for each defendant named in the complaint, whether the defendant is an
individual, a government agency, an organization, or a corporation. For an individual defendant,
include the person's job or title (if known). Attach additional pages if needed.

Defendant No. 1

SEE ATTACHED FOR ADDITIONAL INFORMATION

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E-mail Address (if known)

Il. Basis for Jurisdiction

Federal courts are courts of limited jurisdiction (limited power). Generally; only two types of cases can be
heard in federal court: cases involving a federal question and cases involving diversity of citizenship of the
parties. Under 28 U.S.C. § 1331, a case arising under the United States Constitution or federal laws or treaties
is a federal question case. Under 28 U.S.C. § 1332, a case in which a citizen of one State sues a citizen of
another State or nation and the amount at stake is more than $75,000 is a diversity of citizenship case. In a
diversity of citizenship case, no defendant may be a citizen of the same State as any plaintiff.

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What is the basis for federal court jurisdiction? (check all that apply)

[-] Federal question {1 Diversity of citizenship

| Fill out the paragraphs in this section that apply to this case.
A. If the Basis for Jurisdiction Is a Federal Question

List the specific federal statutes, federal treaties, and/or provisions of the United States Constitution that
are at issue in this case.

N/A
B If the Basis for Jurisdiction Is Diversity of Citizenship
1. The Plaintiffs)

a. If the plaintiff is an individual
The plaintiff, (name} RAY SMITH FORD aka BROTHER RAY os is acitizen of the |
State of (name) MICHIGAN - _ _

b. If the plaintiff is a corporation
The plaintiff, (name) _, is incorporated
under the laws of the State of (name) 7 7 - 4
and has its principal place of business in the State of (name)

(If more than one plaintiff is named in the complaint, attach an additional page providing the

same information for each additional plaintiff. )

2. The Defendant(s)
a. If the defendant is an individual

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The defendant, (name)
the State of (name)

(foreign nation)
b. If the defendant is a corporation
The defendant, (name) NBC UN IVERSAL
the laws of the State of (name) NEW YORK -
principal place of business in the State of (name) NEW YORK

Or is incorporated under the laws of (foreign nation)

and has its principal place of business in (name) NEW YORK

, 1S a citizen of

. Oris a citizen of

, 1S incorporated under

, and has its

(If more than one defendant is named in the complaint, attach an additional page providing the

same information for each additional defendant.)

3. The Amount in Controversy

The amount in controversy—the amount the plaintiff claims the defendant owes or the amount at
stake—is more than $75,000, not counting interest and costs of court, because (explain):

- The defandants action has caused irreparable damage to the plantiffs reputation and legal status
as an American Citizen causing extreme prejudice and racism based on the color of plaintiffs
skin complexion. The defendants continued public broadcasting during live news segments
describing and making references towards plaintiff and the likes of plaintiff as Blacks, Black

People, Black Americans is a public nuisance and defamation

Statement of Claim

Write a short and plain statement of the claim. Do not make legal arguments. State as briefly as possible the
facts showing that each plaintiff is entitled to the damages or other relief sought. State how each defendant was
involved and what each defendant did that caused the plaintiff harm or violated the plaintiff's rights, including
the dates and places of that involvement or conduct. If more than one claim is asserted, number each claim and
write a short and plain statement of each claim in a separate paragraph. Attach additional pages if needed.

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PBS

Plaintiff states that on or about June 3, 2020 during the PBS News Hour, the station endorsed and reported on a
study by Monmouth University, that in December 2014 33%, July 2016 34% and June 2020 54% of “Americans
who say police are more likely to use excessive force against Black People was discriminatory, offensive,
degrading and defamation of specific Americans character by deluding to the words to describe Americans as
black people. As a result of the prejudicial statement, plaintiff has suffered, impairment to reputation standing in
the community, personal humiliation, shame, and disgrace.

NBC UNIVERSAL:

Story reported on or about June 8 2020, Story reported on June 8, 2020, reflecting on protestors who are
recognized as Blacks and Black People, terms that delude to slavery. Detroit is united against racism — but
divided on protesting tactics.” As Detroit's black community copes with the death of George Floyd, residents are
split over how to respond — and the role of white suburban protesters.” The reporting is racial bias that
negatively impacts the plaintiff’s status as an American Citizen

CBS CORPORATION:

On or about June 17, 2020 CBS Morning Show Anthony Mason stated, “Black people are more likely to be shot
by police than white people.’ The use of the word Black People to describe Americans is a public nuisance and
defamation of plaintiffs’ character. On June 11th the CBS local Ohio broadcasted prejudicial statements
concerning Blacks, Coloreds, Black Americans made by State Senator Steve Huffman following his comments
that were made during a hearing for a resolution to declare racism a public health crisis.

Huffman, who is also a Dayton-area emergency room physician, caused controversy after he questioned Angela
Dawson, executive director of the Ohio Commission of Minority Health, on Tuesday over why the COVID-19
rates for black Ohioans were higher than other populations. “Could it just be that African Americans — or the
colored population — do not wash their hands as well as other groups

ABC CORPORATION:

On or about June 11 2020, The ABC News legal correspondent detailed some of alleged remarks about Blacks,
Black People, repeating HuffPost’s report that Barbara Fedida, who is also the head of diversity and inclusion,
“reference[d] Robin Roberts, who is one of the most respected and beloved journalists in our country, as
‘picking cotton.’ Barbara Fedida, the ABC News senior vice president of talent and business affairs, detailing a
history of racist behavior toward Black on-air talent and staffers. Hostin, who identifies as Afro-Latina, was one
of her targets with Fedida allegedly referring to the attorney as “low rent.” Walt Disney Co. suspended top ABC
News executive Barbara Fedida and launched an investigation into her behavior after allegations of racist
remarks and other questionable practices Barbara Fedida, a powerful ABC News executive, has an extensive
history of insensitive comments. She’s now been placed on administrative leave while the network investigates.
Systemic racism touches everything and everyone in our society, regardless of social stature.

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IV.

FOX CORPORATION:

On or about June 8, 2020, Fox News host Tucker Carlson reported live and faced intense backlash Monday night
after he argued that the nationwide unrest over racism and police brutality sparked by the death of George Floyd
“is definitely not about black lives.” Carlson’s comments came during a fiery monologue that kicked off his
prime-time show Monday, following another day of large demonstrations in the wake of last month’s fatal
incident in which Floyd, an unarmed black man, died after a white police officer in Minneapolis knelt on his
neck for more than eight minutes. For roughly 25 minutes, Carlson criticized the Black Lives Matter movement
and growing calls for cities to defund police departments or completely get rid of them. Quoting Tucker, “This
may be a lot of things, this moment we’re living through, but it is definitely not about black lives,” Carlson said.
“Remember that when they come for you, and at this rate, they will. “Anyone who has ever been subjected to the
rage of the mob knows the feeling,” he continued. “It’s like being swarmed by hornets. You cannot think clearly.
And the temptation is to panic. But you can’t panic. You’ve got to keep your head and tell the truth. ... If you
show weakness of any kind, they will crush you.”

PUBLIC NUISANCE CLAIM I

resulted in a public nuisance when they continue to disgrace, degrade, de-humanize plaintiff and the likes of
plaintiff characterizing the plaintiff and the likes of plaintiff as Blacks, Black People and Black Americans as
though plaintiff and the likes of plaintiff sharing the same skin complexion are un-American non-Americans.
The continued bad acts by the defendants, violates plaintiffs Civil Rights as the plaintiff has suffered
discrimination, hardships, hard ache, pain & suffering; mental anguish; confusion and exclusion in the entire
American experience. The defendant’s continued descriptions of plaintiff and the likes of plaintiff as Blacks,
Black People, and Black Americans are offensive nick names used to describe the people who were slaves
during the time of slavery.

The defendants who are trusted with reporting ethical, factual non-biased public news broadcasting actions has
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DEFAMATION CLAIM II

The defendants who are trusted with reporting ethical, factual non-biased public news broadcasting actions has
resulted in defamation when they continue to disgrace, degrade, de-humanize plaintiff and the likes of plaintiff
characterizing the plaintiff and the likes of plaintiff as Blacks, Black People and Black Americans as though
plaintiff and the likes of plaintiff sharing the same skin complexion are un-American non-Americans. The
continued bad acts by the defendants, violates plaintiffs Civil Rights as the plaintiff has suffered discrimination,
hardships, headache, pain & suffering; mental anguish; confusion and exclusion in the entire American
experience. The defendants continued descriptions of plaintiff and the likes of plaintiff as Blacks, Black People,
and Black Americans are offensive nick names used to describe the people who were slaves during the time of
slavery.

Relief

State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include
the amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any
punitive or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or
punitive money damages.

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That plaintiff avers that the defendant’s bad actions and discriminatory practices has caused serious irreparable
harm to the plaintiffs’ free national status as an American Citizen and not a second-class citizen or slave. The
defendants continued to describe American Citizens of a dark complexion as Blacks, Black People, Black
Americans during public news broadcasting is public nuisance and a violation of plaintiffs’ civil rights. Plaintiff
further states that the offensive marks Blacks, Black People and Black Americans are marks that describe slaves
during the time of slavery. Plaintiff is currently suffering from mental anguish, experiencing a state of confusion,
pain suffering from racial discrimination and prejudice at the same time excluded from the full benefits of the
American experience due to racial quotas and affirmative action status that limits inclusion into the full benefits
of a free national American Citizen The plaintiff ask that this court order the defendants cease to user the
offense marks and titles describing Americans of dark or olive complexion as Backs, Black People, Black
Americans and African Americans during their live news reporting and segments. Plaintiff further states that the
court order the defendants refer to people of his likeness (olive hue dark skin complexion) be referred to as
American Citizens. Plaintiff further seeks permanent injunction and punitive damages in the amount of
$18,000,000.00 for pain and suffering irreparable damages.

V. Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
requirements of Rule 11.

A. For Parties Without an Attorney

I agree to provide the Clerk’s Office with any changes to my address where case—related papers may be
served. I understand that my failure to keep a current address on file with the Clerk’s Office may result
in the dismissal of my case.

Date of signing:

Signature of Plaintiff

 

Printed Name of Plaintiff

B. For Attorneys

Date of signing:

Signature of Attorney
Printed Name of Attorney
Bar Number

Name of Law Firm

Street Address

State and Zip Code

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Telephone Number
E-mail Address

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Defendants

FOX CORPORATION
1211 AVENUE OF THE AMERICAS
NEW YORK NEW YORK 10036

CBS CORPORATION
51 W 52nd St,
New York, NY 10019,

NBC UNIVERSAL
30 Rockefeller Plaza
New York, NY 10112

American Broadcasting Company (ABC)
77 West 66" Street
New York City, NY 10023

Public Broadcasting Service (PBS)
2100 Crystal Drive
Arlington, VA 22202

 

 
 

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UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF MICHIGAN

RAY SMITH FORD Pro-Se
BROTHER RAY,

) Case No.
Plaintiffs, )
) CAUSE OF ACTION FOR
vs. ) PERMANENT INJUNCTION, AND

) PUNITIVE DAMAGES IN THE AMOUNT
NBC UNIVERSAL, ) OF $18,000,000.00
FOX CORPORATION, )

CBS CORPORATION, )

PUBLIC BROADCASTING SERVICE __)

(PBS), )

AMERICAN BROADCASTING

COMPANY (ABC),

Defendants

 

 

PLAINTIFFS BRIEF AND MEMORANDUM
IN SUPPORT OF CIVIL ACTION COMPLAINT

COMES NOW, the Plaintiff acting in pro-se capacity petitions this
Honorable Court on motion for Civil Judgment injunction and punitive damages
against defendants for defamation of character and public nuisance violations.
During public news broadcasting, the defendants continued actions to describe
American Citizens as Blacks; Black People; Colored People or Black Americans is
a public nuisance and defamation of character to describe plaintiff and the likes
of plaintiff who is an American Citizen, not Black People or Blacks or Black
American. The proper and constitutional legal description to describe plaintiff

and the likes of plaintiff of olive hue complexion is an American Citizen

 

 

 
 

 

 

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I. ARTICLE III COURTS JURISDICTION

The United States Constitution, in Article III, § 2, gives the Congress the
power to permit federal courts to hear diversity cases through legislation
authorizing such jurisdiction. The provision was included because the Framers of
the Constitution were concerned that when a case is filed in one state, and it
involves parties from that state and another state, the state court might be
biased toward the party from that state. Congress first exercised that power and
granted federal trial circuit courts diversity jurisdiction in the Judiciary Act of
1789. Diversity jurisdiction is currently codified at 28 U.S.C. § 1332. To
establish Article III standing, plaintiffs’ suit is brought in the United States
District Court for the Eastern District for Michigan on constitutional civil rights
established laws under the 13" and 14 Constitutional Amendments hereby
invokes this court’s jurisdiction pursuant to diversity of citizenship. In the law of
the United States, diversity jurisdiction is a form of subject-matter
Jurisdiction in civil procedure in which a United States district court in the
federal judiciary has the power to hear a civil case when the amount in
controversy exceeds $75,000 and where the persons that are parties are
"diverse" in citizenship or state of incorporation (for corporations being legal
persons), which generally indicates that they differ in state and/or nationality.
The United States Constitution, in Article III, § 2, gives the Congress the power
to permit federal courts to hear diversity cases through legislation authorizing

such jurisdiction. The provision was included because the Framers of the

 

 
 

 

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Constitution were concerned that when a case is filed in one state, and it
involves parties from that state and another state, the state court might be
biased toward the party from that state. Congress first exercised that power and
granted federal trial circuit courts diversity jurisdiction in the Judiciary Act of
1789. Diversity jurisdiction is currently codified at 28 U.S.C. § 1332

As early as Marbury v. Madison, Chief Justice Marshall stated that “questions in
their nature political, or which are, by the constitution and laws, submitted to
the executive, can never be made in this court.” 5 U.S. (1 Cranch) 137, 170
(1803). These questions, Marshall wrote, “respect the nation, not individual
rights ....” Id. at 166. There, in the very case that establishes the power of
judicial review, the political question doctrine received its judicial imprimatur.
Marbury v. Madison, legal case in which, on February 24, 1803, the U.S.
Supreme Court first declared an act of Congress unconstitutional, thus
establishing the doctrine of judicial review. The court's opinion, written by Chief
Justice John Marshall, is considered one of the foundations of U.S. constitutional
law. Plaintiff avers that during public news broadcasting, the defendants
continued use of the offensive terms Blacks; Black Americans; Black People to
describe American Nationals, violates plaintiffs Constitutional Civil Rights when
the terms were abolished in 1865 under the 13" Amendment that ended slavery

following the 14t? Amendment equal protection clause.

 

 

 
    

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II. ARGUMENT
Plaintiff argues that the defendants use of the offensive obscenity names such
as Blacks, Black People, and Black Americans instead of American Citizens
covering historical events such as Black Lives Matter protests that speeded
across the US and the world following the death of George Floyd. George Perry
Floyd jr. (October 14, 1973 - May 25, 2020) was an African American Citizen
killed by police during an arrest in Minneapolis, Minnesota. Protests in response
to his death, and more broadly to police violence against American Citizens
publicly known as black people, quickly spread across the United States and
internationally. Plaintiff avers that the obscenity words Blacks are referenced in
the United States Supreme Court case, Dred Scott v. Sandford, 60 U.S. (19
How.) 393 (1857), was a landmark decision of the US Supreme Court in which
the Court held that the US Constitution was not meant to include American
citizenship for black people, regardless of whether they were enslaved or free,
and so the rights and privileges that the Constitution confers upon American
citizens could not apply to them. Plaintiff, an American Citizen residing in Detroit
Michigan brought this suit in federal Eastern District of Michigan for injunctive
relief and punitive damages on public nuisance and defamation grounds against
the defendants who are trusted Broadcasting Companies responsible for
reporting ethical information to the public. The defendant’s negligent actions
describing distinctive Americans as Black People, Black Americans or Blacks

covering stories on Coronavirus COVID-19 pandemic and racial reform

 

 

 
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protestors is a public nuisance, negligent news reporting and defamation of
plaintiffs’ character in violation of plaintiffs’ civil rights to be recognized as an
American Citizen. The decision was made in the case of Dred Scott, an enslaved
black man whose owners had taken him from Missouri, which was a slave-
holding state, into the Missouri Territory, most of which had been designated
"free" territory by the Missouri Compromise of 1820. When his owners later
brought him back to Missouri, Scott sued in court for his freedom and claimed
that because he had been taken into "free" US territory, he had automatically
been freed and was legally no longer a slave. Scott sued first in Missouri state
court, which ruled that he was still a slave under its law. He then sued in US
federal court, which ruled against him by deciding that it had to apply Missouri
law to the case. He then appealed to the US Supreme Court. In March 1857, the
Supreme Court issued a 7-2 decision against Dred Scott. In an opinion written
by Chief Justice Roger Taney, the Court ruled that black people "are not
included, and were not intended to be included, under the word ‘citizens’ in the
Constitution, and can therefore claim none of the rights and privileges which
that instrument provides for and secures to citizens of the United States." Taney
supported his ruling with an extended survey of American state and local laws
from the time of the Constitution's drafting in 1787 that purported to show that
a "perpetual and impassable barrier was intended to be erected between the
white race and the one which they had reduced to slavery." Because the Court

ruled that Scott was not an American citizen, any federal lawsuit that he filed

 

 

 
 

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automatically failed because he could never establish the "diversity of
citizenship" that Article III of the US Constitution requires for a US federal court
to be able to exercise jurisdiction over a case. After ruling on those issues
surrounding Scott, Taney continued further and struck down the entire Missouri
Compromise as a limitation on slavery that exceeded the US Congress's
constitutional powers. An obscenity is an offensive word or phrase. ... They are
obscenities, which are also known as swear words. You can also say that
anything offensive or inappropriate is an obscenity. This can include

things that are not only dirty, but things that are offensive in other ways. Some
definitions of the word Black is associated with fear, mystery, death, evil,
aggression and rebellion. Black is required for all other colors to have depth and
variation of hue. The black color is the absence of color which is inappropriate to
describe a member of humanity. Plaintiff avers that as an example, had the
defendants public broadcasting reported that the police are killing unarmed
Americans as opposed to the police are killing Black People or Black Americans,
there would be a difference in society’s reflection on so-called Black People.
Plaintiff argues that defendants must not continue to refer to American Citizens

as Blacks, Black Americans or Black People which is an obscenity.

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III. LEGAL STANDING
Under the federal notice pleading standards, a plaintiff’s “factual allegations
must be enough to raise a right to relief above the speculative level.” Twombly,
550 U.S. at 555. Put differently, a “complaint must contain sufficient factual
matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’”
Ashcroft v. Iqbal, 556 U.S. 662, 678, 129 S. Ct.1937, 1949, 172 L.Ed. 2d 868
(2009) (quoting Twombly, 550 U.S. at 570). In determining the sufficiency of a
complaint under the plausibility standard, courts must “accept all well-pleaded
facts as true and draw reasonable inferences in the plaintiffs’ favor. a plaintiff
need not allege the prima facie elements of a discrimination claim because it is
an evidentiary standard, not a pleading requirement. See Swierkiewicz v.
Sorema, 534 U.S. 506, 510, 122 S.Ct. 992, 152 L.Ed.2d 1 (2002). see a/so
Twombly, 550 U.S. at 569 (“[W]e does not require heightened fact pleading of
specifics, but only enough facts to state a claim to relief that is plausible on its
face.”). Indeed, a “complaint alleging [race] discrimination need only aver that
the employer instituted a (specified) adverse employment action against the

plaintiff based on [his race].”

A. PBS NEWS HOUR
Plaintiff states that on or about June 3, 2020 during the PBS News Hour, the
station endorsed and reported on a study by Monmouth University, that in
December 2014 33%, July 2016 34% and June 2020 54% of “Americans who

say police are more likely to use excessive force against Black People was

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discriminatory, offensive, degrading and defamation of specific Americans

character by deluding to the words to describe Americans as black people. PBS

j/is a private, nonprofit media enterprise owned by its member public television

stations. PBS distributes programming to approximately 350 locally controlled
and operated public television stations across the country and is funded

principally by these member stations, distribution and underwriting.

B. NBC UNIVERSAL
Story reported on June 8, 2020, reflecting on protestors who are recognized as
Blacks and Black People, terms that delude to slavery. Detroit is united against
racism — but divided on protesting tactics.” As Detroit's black community copes
with the death of George Floyd, residents are split over how to respond — and
the role of white suburban protesters.” The reporting is racial bias that

negatively impacts the plaintiff’s status as an American Citizen.

C. CBS CORPORATION
On June 17, 2020 CBS Morning Show Anthony Mason stated, “Black people are
more likely to be shot by police than white people.’ The use of the word Black
People to describe Americans is a public nuisance and defamation of plaintiffs’
character. On June 11" the CBS local Ohio broadcasted prejudicial statements
concerning Blacks, Coloreds, Black Americans made by State Senator Steve

Huffman following his comments that were made during a hearing for a

 

 
 

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resolution to declare racism a public health crisis. Huffman, who is also a
Dayton-area emergency room physician, caused controversy after he questioned
Angela Dawson, executive director of the Ohio Commission of Minority Health,
on Tuesday over why the COVID-19 rates for black Ohioans were higher than
other populations. “Could it just be that African Americans - or the colored
population — do not wash their hands as well as other groups? Or wear masks?
Or do not socially distance themselves?” Huffman asked during Senate
testimony. In a statement, the 55-year-old Huffman said he regretted how his
question was perceived. “I asked a question in an unintentionally awkward way
that was perceived as hurtful and was exactly the opposite of what I meant,”
the senator said. “I was trying to focus on why COVID-19 affects people of color
at a higher rate since we really do not know all the reasons.” Democratic Rep.
Stephanie Howse, president of the Ohio Legislative Black Caucus, noted that the
word “colored” has an offensive history of being associated with segregation and
Jim Crow laws. “When we talk about the internalized racism that is deeply
ingrained in our institutions and the obstacles Black Americans face in ever
achieving meaningful change, this is exactly what we are talking about,” Rep.
Howse said. “His explicitly racist comment, which invoked deeply troubling
sentiments and imagery, is reprehensible, and any Ohio lawmaker who holds

such abhorrent views must be held accountable.”

 

 

 
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D. FOX CORPORATION
On or about June 8 2020, Fox News host Tucker Carlson reported live and
faced intense backlash Monday night after he argued that the nationwide unrest
over racism and police brutality sparked by the death of George Floyd “is
definitely not about black lives. “Carlson’s comments came during a fiery

monologue that kicked off his prime-time show Monday, following another day

 

of large demonstrations in the wake of last month’s fatal incident in which Floyd,
19 |}an unarmed black man, died after a white police officer in Minneapolis knelt on

11 |/his neck for more than eight minutes. For roughly 25 minutes, Carlson criticized
*? |i the Black Lives Matter movement and growing calls for cities to defund police
13
departments or completely get rid of them. Quoting Tucker, “This may be a lot
14

is |}Of things, this moment we’re living through, but it is definitely not about black

16 |! lives,” Carlson said. “Remember that when they come for you, and at this rate,
u they will. “Anyone who has ever been subjected to the rage of the mob knows
18
1 the feeling,” he continued. “It’s like being swarmed by hornets. You cannot think’

20 |}Clearly. And the temptation is to panic. But you can’t panic. You've got to keep

21 ||your head and tell the truth. ... If you show weakness of any kind, they will
22

crush you.”

23
IV. FOURTEENTH AMENDMENT

24

25 || The Constitution’s 14 Amendment did not refer to black people only

“© Ii citizens. The 14th Amendment to the U.S. Constitution, ratified in 1868,
27 ,
granted citizenship to all persons born or naturalized in the United States—
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including former slaves—and guaranteed all citizens “equal protection of the
laws.” The plaintiffs aver that the use of the term black people deludes to
slavery and therefore, violates their rights as American Citizens.
The nation's answer to the question who is black? has long been that a black is
any person with any Known African black ancestry. This definition reflects the
long experience with slavery and later with Jim Crow segregation. In the South
it became known as the "one-drop rule,"" meaning that a single drop of "black
blood" makes a person a black. It is also known as the "one black ancestor
rule," some courts have called it the "traceable amount rule," and
anthropologists call it the "hypo-descent rule," meaning that racially mixed
persons are assigned the status of the subordinate group. This definition
emerged from the American South to become the nation's definition, generally
accepted by whites and blacks. Blacks had no other choice. As we shall see, this
American cultural definition of blacks is taken for granted as readily by judges,
history scholars, affirmative action officers, and the likes of Black Lives Matter
protesters and sympathizers. It was in 1865, on June 19°, that enslaved black
people in Texas learned that the Civil War had ended and that they were free,
more than two years after the effective date of the Emancipation Proclamation.

A. BLACKS. BLACK PEOPLE, BLACK AMERICANS PROPER

PERSON LEGAL STATUS IS AMERICAN CITIZENS

The Americans who were given the names Blacks, Black Americans, Black

People were protected by some form of government prior to their enslavement.

 
 

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Following their emancipation there has not been an established rule of law or
government to protect said people in the United States that will provide equal
protection under the law. As Blacks, Black Americans, Black People, there is
severe prejudice towards said people due to the names that were imposed on
said people during the time of slavery. According to the first treaty formed with
the newly formed American nation, Morocco established a treaty that reflected
protections for North African subjects. See PEACE AND FRIENDSHIP. Treaty
sealed by the Emperor of Morocco June 23, 1786 and delivered to the
American agent at Morocco June 28, 1786. Morocco and the United States have
a long history of friendly relations. This North African nation was one of the first
states to seek diplomatic relations with America. In 1777, Sultan Sidi
Muhammad Ben Abdullah, the most progressive of the Barbary leaders who
ruled Morocco from 1757 to 1790, announced his desire for friendship with the
United States. By issuing this declaration, Morocco became one of the first
states to acknowledge publicly the independence of the American Republic.

The U.S. Government sent its first official communication to the Sultan of
Morocco in December 1780 reads:

"We the Congress of the 13 United States of North America, have been informed
of your Majesty’s favorable regard to the interests of the people we represent,
which has been communicated by Monsieur Etienne d’Audibert Caille of Sale,
Consul of Foreign nations unrepresented in your Majesty’s states. We assure

you of our earnest desire to cultivate a sincere and firm peace and friendship

 

 

 

 
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with your Majesty and to make it last to all posterity. Should any of the subjects
of our states come within the ports of your Majesty’s territories, we flatter
ourselves they will receive the benefit of your protection and benevolence. You
may assure yourself of every protection and assistance to your subjects from
the people of these states whenever and wherever they may have it in their

power, We pray your Majesty may enjoy long life and uninterrupted prosperity.”

IV. PLAINTIFFS CLAIM I

THE USE OF THE WORDS BLACK PEOPLE, AFRICAN AMERICANS

OR BLACK AMERICANS TO DESCRIBE AMERICAN CITIZENS

IS SLANDER AND DEFAMATION OF CHARACTER
The defendants in all working in concert to continue to defame and slander
plaintiffs Character during around the clock news reporting is annoying in nature
that cast a negative reflection on plaintiffs’ free national status recognized as full
American Citizens.in the United States. The harm suffered by plaintiffs, ranging
from insomnia, to depression and anxiety, made by the defendant’s news
reporting statements distinguishing Americans from Black Americans, Blacks or
African Americans is prejudicial, bias which has taken a toll on plaintiff’s mental
health, and those harms must be compensable. When defendants use the words
Blacks, Black People and Black Americans to describe an American Citizen of
olive hue, dark complexion is prejudicial unjust description that deludes to

slavery. The irreparable harm done is when non-African descent Americans see

plaintiffs as Black People or Blacks and not as true Americans which lead to

 

 
   

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racism and prejudicial treatment towards plaintiffs. From the founding of the
Nation until 1964, the law of defamation was almost exclusively the business of
state courts and legislatures. Gertz v. Robert Welch Inc., 418 U. S. 323, 345
(1974). But beginning with New York Times Co. v. Sullivan, 376 U. S. 254
(1964) the Court “federalized major aspects of libel law by declaring
unconstitutional in important respects the prevailing defamation law in all or
most of the 50 States. New York Times was “the first major step in what proved
to be a seemingly irreversible process of constitutionalizing the entire law of
libel and slander. The Court promptly expanded the actual malice rule to all
defamed “public figures,” Curtis Publishing Co. v. Butts, 388 U.s. 130, 134
(1967), which it defined to include private persons who “thrust themselves to
the forefront of particular public controversies in order to influence the

resolution of the issues involved.

A. DEFAMATION DEFINED
One essential element in the types of defamation claims is that the
defendant knowingly or negligently published something defamatory about the
plaintiff. A communication may be considered defamatory if it tends so to harm
the reputation of another as to lower him in the estimation of the community or
expose him to public hatred, contempt, and ridicule or to deter third persons
from associating with him. Courts have long struggled with the task of

determining a standard for deciding whether a statement is defamatory or

 
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has reckless disregard. Many statements may be viewed as defamatory by some
individuals, but the same statement may not be viewed as defamatory by

others. But generally, courts require a plaintiff to prove that he or she has been

 

defamed in the eyes of the community or within a defined group within the
6 |}community. Examples of defamatory statements are virtually limitless,
including statements that:

e Suggest involvement in serious crimes involving moral turpitude or a

9 felony.

Expose a plaintiff to ridicule the he is a descendant of slaves

Reflect negatively on the plaintiff's character, morality, or integrity
Impair the plaintiff's equal opportunity to financial well-being

Suggest that the plaintiff suffers from a health defect that would cause
others to refrain from associating with the plaintiff

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14 In addressing the examples of defamation of plaintiff's character, the

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defendants use to describe all persons of dark complexion as Blacks; Black
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u People; Black Americans is prejudicial when the defendants display dark

18 complexion people as vandals, thieves breaking into retail shops looting

19 and setting fires and calling those individuals Black’s: Black People or

20

Black Americans during their public news broadcast covering protestors
21

50 against racism. Suggest involvement in serious crimes involving moral

23 turpitude or a felony. Defendants use of offensive names that delude to

28 slavery publically exposed plaintiffs to ridicule that he is a descendant of

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slaves because of his dark complexion. Not all dark hue complexion
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27 individuals should be called Blacks, Black People or Black Americans. The

28 defendants all have a habitual practice of labeling all dark complexion

is

 

 

 
 

 

 

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Americans as Blacks, Black People or Black Americans which is slander
and offensive towards the plaintiffs. The consistent public labeling by the
defendants reflect negatively on the plaintiff's character, morality and
integrity. The offensive labeling by defendants has resulted in quotas that
impairs the plaintiff's equal opportunity to financial well-being as a true
first-class American Citizen. The defendants continued reporting during
the COVID-19 pandemic that Blacks, Black People and Black Americans
are high risk of contracting Coronavirus that causes non dark complexion
Americans from associating with plaintiff due to racism based on skin
complexion. The defendant’s deliberate actions have caused irreparable
harm to plaintiffs’ character as an American Citizen. Therefore, the
defendants are liable for punitive damages, pain and suffering as a result
of the PBS News hour public segment June 3, 2020 What’s behind racial
disparities in American policing — and how to solve them. During the
segment, PBS reported that:

“Americans who say police are more likely to use excessive force
against black people” statement separates black people from being
Americans. As a result of the prejudicial statement, plaintiff has suffered,
impairment to reputation standing in the community, personal humiliation,

shame, and disgrace.

 
 

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B. MADE REFERENCE TO PLAINTIFF
In a defamation action, the recipient of a defaming communication must
understand that the defendant intended to refer to the plaintiff in the
communication. Even where the recipient mistakenly believes that a
communication refers to the plaintiff, this belief, so long as it is
reasonable. It is not necessary that the communication refer to the
plaintiff by name if it is a defamation of character. See offensive
references as follows:

For all persons of any known black lineage, however, assimilation is
blocked and is not promoted by miscegenation. Barriers to full opportunity
and participation for

Blacks are still formidable, and a fractionally black person cannot escape
these obstacles without passing as white and cutting off all ties to the
black family and community.

The pain of this separation, and condemnation by the black family and
community, are major reasons why many or most of those who could pass
as white choose not to. Loss of security within the minority community,
and fear and distrust of the white world are also factors. It should now be
apparent that the definition of a black person as one with any trace at all
black African ancestry is inextricably woven into the history of the United
States.

It incorporates beliefs once used to justify slavery and later used to
buttress the caste like Jim Crow system of segregation. Developed in the
South, the definition of "Negro (now black) spread and became the
nation's social and legal definition. Because blacks are defined according
23 to the one-drop rule, they are a socially constructed category in which
there is wide variation in racial traits and therefore not a race group in the
scientific sense. However, because that category has a definite status

25 position in the society it has become a self-conscious social group with an
ethnic identity.

 

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The one-drop rule has long been taken for granted throughout the United
States by whites and blacks alike, and the federal courts have taken
28 "judicial notice" of it as being a matter of common knowledge. State

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courts have generally upheld the one-drop rule, but some have limited the
definition to one thirty-second or one-sixteenth or one-eighth black
ancestry or made other limited exceptions for persons with both Indian
and black ancestry. Most Americans seem unaware that this definition of
blacks is extremely unusual in other countries, perhaps even unique to the
United States, and that Americans define no other minority group in a
similar way.
IV. PLAINTIFFS CLAIM II
THE OFFENSIVE USE OF THE MARKS BLACK PEOPLE,
BLACKS OR BLACK AMERICANS IS A PUBLIC NUISANCE
DEFAMING THE CHARACTER OF AMERICANS CIVIL RIGHTS
VIOLATES THE 147 AMENDMENT EQUAL PROTECTION CLAUSE
The plaintiff contend that the defendants continue use to describe American
Citizens as Black People, Blacks, Black Americans or African Americans are
unconstitutional nicknames that reflect the plaintiff likeness and others sharing
the same likeness are negative descriptions given to slaves by slave holders
during the time of slavery. in the 1990s, States began turning to public nuisance
theories to target manufacturers, and to hold tobacco companies
liable for state Medicaid expenditures on tobacco-related health problems.
Gifford, supra, at 753; Schwartz & Gold-berg, supra, at 554. Over forty States
sued tobacco companies seeking Medicaid reimbursement under a variety of
legal theories, including public nuisance. National Association of Attorneys
General, State Attorneys General Powers and Responsibilities. Also, during the
late 1990s and early 2000s, States and municipalities sought to hold firearm

manufacturers liable for gun violence by way of public nuisance law. Schwartz

& Goldberg, supra, at 555-57. But unlike the environmental and asbestos

 

 
 

 

 

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lawsuits, some of the firearm cases were successful in court. At twelfth century
English common law, public nuisance was a criminal offense for infringing on the
rights of the Crown. Victor E. Schwartz & Phil Gold-berg, The Law of Public
Nuisance: Maintaining Rational Boundaries on a Rational Tort, 45 Washburn
L.J. 541, 543 (2006). The offenses most commonly took the form of
purpresture’s, or encroachments upon royal lands. Restatement (Second) of
Torts § 821B (1979). The attorney general could bring suit for in-junctive relief
to abate the nuisance by stopping infringement and repairing damage to the
King’s property. Schwartz & Goldberg, supra, at 543. Beginning in the
fourteenth century, public nuisance law expanded to include not only the rights
of the Crown itself, but also those of the general public, including “the right to
safely walk along public highways, to breathe unpolluted air, to be undisturbed
by large gatherings of disorderly people and to be free from the spreading of
infectious diseases.” Id. at 543-44 (internal citation omitted). Courts weighed
-||the value of the conduct against the harm it caused to determine whether it
merited criminal punishment. Id. at 544. And in 1535, nuisance law expanded to
allow private damages for individuals who suffered an in-jury different in kind
than that of the general public. Id.
The

A. DEFINING THE WORD BLACK
The so-called Black Americans were originally black people from North Africa

who worked as servants and slaves in wealthy European households. The

 

 
 

 

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negative connotation of the term comes from its historical association with
servitude and from the perception that black people were strangely exotic.
While African American has not replaced Black in common parlance, it works
both as a noun and as an adjective. In the United States, there is a complex
social history for words that name or describe the dark-skinned peoples of

sub-Saharan Africa and their descendants from the Northern and Southern
Shores of Africa relating to moors.

B. PUBLIC NUISANCE

A. Legal Responsibility
A private nuisance is a tort, that is, a civil wrong. To determine accountability
for an alleged nuisance, a court will examine three factors: the defendant's
fault, whether there has been a substantial interference with the plaintiff's
interest, and the reasonableness of the defendant's conduct.

B. Fault
Fault means that the defendant intentionally, negligently, or recklessly
interfered with the plaintiff's use and enjoyment of the land or that the
defendant continued her conduct after learning of actual harm or substantial risk
of future harm to the plaintiff's interest. For example, a defendant who
continues to spray chemicals into the air after learning that they are blowing
onto the plaintiff's land is deemed to be intending that result. Where it is alleged
that a defendant has violated a statute, proving the elements of the statute will

establish fault.

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C. Substantial Interference
The law is not intended to remedy trifles or redress petty annoyances. To
establish liability under a nuisance theory, interference with the plaintiff's
interest must be substantial. Determining substantial interference in cases
where the physical condition of the property is affected will often be
straightforward. More challenging are those cases predicated on personal
inconvenience, discomfort, or annoyance. To determine whether interference is
substantial, courts apply the standard of an ordinary member of the community
with normal sensitivity and temperament. A plaintiff cannot, by putting his or
her land to an unusually sensitive use, make a nuiSance out of the defendant's

conduct that would otherwise be relatively harmless.

D. Reasonableness of Defendant's Conduct
If the interference with the plaintiff's interest is substantial, a determination
must then be made that it is unreasonable for the plaintiff to bear it or to bear it
without compensation. This is a balancing process weighing the respective
interests of both parties. The law recognizes that the activities of others must be
accommodated to a certain extent, particularly in matters of industry, |
commerce, or trade. The nature and gravity of the harm is balanced against the
burden of preventing the harm and the usefulness of the conduct.
The following are factors to be considered:

e Extent and duration of the disturbance;

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e« Nature of the harm;

¢ Social value of the plaintiff's use of his or her property or other interest;
¢ Burden to the plaintiff in preventing the harm;

¢ Value of the defendant's conduct, in general and to the community;

e Motivation of the defendant;

« Feasibility of the defendant's mitigating or preventing the harm;

¢ Locality and suitability of the uses of the land by both parties.

V. IRREPARABLE DAMAGE TO THE PLAINTIFF
The plaintiff has suffered irreparable harm, confusion, mental anguish,
discrimination racism pain and suffering and allusions due to the defendant’s
negative offensive public news broadcasting identifying the plaintiff and the likes
of plaintiffs sharing the same skin complexion of American as Blacks, Black
People, Black Person, Black Americans. These labels placed on Americans reflect
the plaintiff in a negative way that causes severe racism and prejudice towards
the plaintiff, limiting the plaintiffs rights to equality in economic and
employment opportunities, access to credit capital markets and affordable
housing due to systemic prejudice towards Blacks, Black Americans of which
negatively reflect the plaintiffs guaranteed equal legal rights as an American
citizens. There are quota systems affirmative action programs in place to
provide Blacks, Black Americans or African Americans access to housing, credit

markets, access to capital and college admissions. Therefore, there would be no

 
 

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need to grant Blacks, Black Americans, Black People or African Americans with

affirmative action quota systems if said people were recognized as Americans.

VI. RELIEF REQEST
The plaintiff hereby, demand that the defendants use of negative stereotype
offense marks such as Blacks, Black Americans and Black People to describe
Americans during public news broadcasting is harmful activity to free American
citizens requiring defendants’ activities to cease and pay punitive damages to
the plaintiff. That plaintiff avers that the defendant’s bad actions and
discriminatory practices has caused serious irreparable harm to the plaintiffs’
free national status as an American Citizen and not a second-class citizen or
slave. The defendants continued to describe American Citizens of a dark
complexion as Blacks, Black People, Black Americans during public news
broadcasting is public nuisance and a violation of plaintiffs’ civil rights. Plaintiff
further states that the offensive marks Blacks, Black People and Black
Americans are marks that describe slaves during the time of slavery. Plaintiff is
currently suffering from mental anguish, experiencing a state of confusion, pain

suffering from racial discrimination and prejudice at the same time excluded

 

from the full benefits of the American experience due to racial quotas and

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25 ||affirmative action status that limits inclusion into the full benefits of a free
26 |/national American Citizen The plaintiff ask that this court order the defendants

cease to user the offense marks and titles describing Americans of dark or olive
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complexion as Backs, Black People, Black Americans and African Americans
during their live news reporting and segments. Plaintiff further states that the
court order the defendants refer to people of his likeness (olive hue dark skin
complexion) be referred to as American Citizens. Plaintiff further request
punitive damages in the amount of $18,000,000.00 for pain and suffering

irreparable damages.

CERTIFICATE OF SERVICE

I hereby certify on behalf of the plaintiffs, that on June 19%, 2020, I filed the
foregoing document with the clerk of court and mailed first class postage pre-

paid to all the defendants.

Respectfully submitted on behalf of the plaintiff

V ( v.COC~S
Ray Smith Pro se
AKA Brother Ray
3766 Iroquois

Detroit, MI 48214
(313) 208-5338

 

 
 

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Defendants

FOX CORPORATION
1211 AVENUE OF THE AMERICAS
NEW YORK NEW YORK 10036

CBS CORPORATION
51 W 52nd St,
New York, NY 10019,

NBC UNIVERSAL
30 Rockefeller Plaza
New York, NY 10112

American Broadcasting Company (ABC)
77 West 66" Street
New York City, NY 10023

Public Broadcasting Service (PBS)
2100 Crystal Drive
Arlington, VA 22202

 

 

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JS 44 civil cover sheet and the information contained herein neither r
rovided by local rules of court. This form, approved by the Judicial Con
purpose of initiating the civil docket sheet.

I. (a) PLAINTIFFS
RAY SMITH FORD
BROTHER RAY —_

(b) County of Residence of First Listed Plaintiff WAYNE
(EXCEPT IN U.S. PLAL

   

(c) Attorneys (Firm Name, Address, and Telephone Number)

Fro ASE 2:20-cv-11736-LVP-DR@CEF COVER

  

 

 

Page

 

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erence of the United States in September 1974
(SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM)

_ DEFENDANTS

County of Residence

NOTE:
THE TRACT

Attomeys (If Known)

 

NBC UNIVERSAL,
SERVICE, AMERICAN BROADCASTING, CBS CORPORATION

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EET

pleadings or other papers as required by law, except as
, is required for the use of the Clerk of Court for the

FOX CORPORATION, PUBLIC BROADCASTING

of First Listed Defendant NEW YORK COUN
(IN U.S. PLAINTIFF CASES ONLY)

IN LAND CONDEMNATION CASES, USE THE LOCATION OF

OF LAND INVOLVED.

 

IL. BASIS OF JURISDICTION (Place an “X” in One Box Only)

 

Ii. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff

 

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(For Diversity Cases Only) and One Box for Defendant) |
O11 US. Government 13 Federal Question PIF DEF PTF DEF |
Plaintiff (U.S. Government Not a Party) Citizen of This State Xi [ 1 Incorporated or Principal Place go4 74 |
¢ of Business In This State
1 2 U.S. Government RD Diversity Citizen of Another State 7 2 (X 2 Incorporated and Principal Place O5 &s
Defendant (Indicate Citizenship of Parties in Item IID) of Business In Another State
Citizen or Subject of a 43 © 3 Foreign Nation 96 46
Foreign Country
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120 Marine © 310 Airplane & 365 Personal Injury -

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© 140 Negotiable Instrument Liability @ 367 Health Care/

1 150 Recovery of Overpayment | 320 Assault, Libel & Pharmaceutical
& Enforcement of Judgment Slander Personal Injury

© 151 Medicare Act © 330 Federal Employers’ Product Liability

‘152 Recovery of Defaulted Liability 7 368 Asbestos Personal
Student Loans © 340 Marine Injury Product
(Excludes Veterans) © 345 Marine Product Liability

G 153 Recovery of Overpayment Liability PERSONAL PROPERTY
of Veteran’s Benefits © 350 Motor Vehicle O 370 Other Fraud

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© 362 Personal Injury - Product Liability

   
 

 
  

   
  
      

 

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Habeas Corpus:
f 463 Alien Detainee
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& 290 All Other Real Property 0 445 Amer. w/Disabilities - | 535 Death Penalty
! Employment Other:
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1 625 Drug Related Seizure
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7 410 Antitrust |
© 430 Banks and Banking
O 450 Commerce
© 460 Deportation
© 470 Racketeer Influenced and |
Corrupt Organizations
7 480 Consumer Credit
(1S USC 1681 or 1692)
O 485 Telephone Consumer
Protection Act
& 490 Cable/Sat TV
& 850 Securities/Commodities/
Exchange
C1 890 Other Statutory Actions
© 891 Agricultural Acts
© 893 Environmental Matters

  

0) 422 Appeal 28 USC 158
7] 423 Withdrawal
28 USC 157

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J 820 Copyri

O 830 Patent
© 835 Patent - Abbreviated
New Drug Application

 

862 Black Lung (923)
3 863 DIWC/DIWW (405(g))
1 864 SSID Title XVI

0 865 RSI (405(g))

 

& 870 Taxes (U.S. Plaintiff

 

HIGRATION
© 462 Naturalization Application
0 465 Other Immigration
Actions

or Defendant) © 895 Freedom of Information
© 871 IRS—Third Party Act
26 USC 7609 & 896 Arbitration
899 Administrative Procedure
Act/Review or Appeal of
Agency Decision

1 950 Constitutionality of
State Statutes

 

 

 

V. ORIGIN (Place an “x” in One Box Only)

 

1 Original O12 Removed from O 3  Remanded from 4 Reinstatedor O 5 Transferred from © 6 Multidistrict O 8 Multidistrict
Proceeding State Court Appellate Court Reopened Another District Litigation - Litigation -
(specify) Transfer Direct File
Cite the U.S. pil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
Diversity of Jurisdiction

 

VI. CAUSE OF ACTION

Brief description of cause: .
Defamation and Public Nuisance

 

VII. REQUESTED IN

© CHECK IF THIS IS A CLASS ACTION DEMAND $

»

—

CHECK only if demanded in complaint:
JURY DEMAND: 2 Yes

 

  
  

 

 

COMPLAINT: UNDER RULE 23, F.R.Cv.P. 18,000,000.00 ONo
VII. RELATEDCASES) _
IF ANY (See instructions): TOD GE ~~ _ " DOCKET NUMBER - _ 7
DATE . ‘ ~- SIGN. oR ORKEY OF RECQD
June 19th 2020 ° Vy ye SA “Heo - oe
FOR OFFICE USE ONLY IW UV
RECEIPT # oN FP JUDGE MAG. JUDGE

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deAGRoe:20-Cv-11736-LVP-DRG ECF No. 1, PagelD.36 Filed 06/19/20 Page 36 of 37

INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

I(a)  Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and
then the official, giving both name and title.

(b) County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
condemnation cases, the county of residence of the "defendant" is the location of the tract of land involved.)

(c) Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
in this section "(see attachment)".

II. Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
precedence, and box 1 or 2 should be marked.
Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
cases.)

Ill. Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
section for each principal party.

IV. Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of suit code
that is most applicable. Click here for: Nature of Suit Code Descriptions.

V. Origin. Place an "X" in one of the seven boxes.
Original Proceedings. (1) Cases which originate in the United States district courts.
Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
date.
Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
multidistrict litigation transfers.
Multidistrict Litigation — Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.
Section 1407.
Multidistrict Litigation — Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket.
PLEASE NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to
changes in statue.

VI. Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service

VII. Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.

Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

VIII. Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket
numbers and the corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet.
Case 2:20-cv-11736-LVP-DRG ECF No. 1, PagelD.37

 

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